                    Case 17-27749               Doc 1        Filed 09/15/17 Entered 09/15/17 18:34:12                              Desc Main
                                                               Document     Page 1 of 14

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                    Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Paul                                                            Denise
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Schulz                                                          Schulz
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0551                                                     xxx-xx-4582
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                           page 1
                    Case 17-27749           Doc 1         Filed 09/15/17 Entered 09/15/17 18:34:12                             Desc Main
                                                            Document     Page 2 of 14
Debtor 1   Paul Schulz
Debtor 2   Denise Schulz                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1221 Isabella St.                                             1229 Lake Ave.
                                 Evanston, IL 60201                                            Wilmette, IL 60091
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cook                                                          Cook
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                       I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 17-27749           Doc 1          Filed 09/15/17 Entered 09/15/17 18:34:12                               Desc Main
                                                             Document     Page 3 of 14
Debtor 1    Paul Schulz
Debtor 2    Denise Schulz                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                  Chapter 11
                                  Chapter 12
                                    Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 17-27749            Doc 1        Filed 09/15/17 Entered 09/15/17 18:34:12                                  Desc Main
                                                            Document     Page 4 of 14
Debtor 1    Paul Schulz
Debtor 2    Denise Schulz                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?
                                    Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                    No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                    No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                    Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 17-27749              Doc 1        Filed 09/15/17 Entered 09/15/17 18:34:12                            Desc Main
                                                              Document     Page 5 of 14
Debtor 1    Paul Schulz
Debtor 2    Denise Schulz                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               Icounseling
                                           received a briefing from an approved credit              Icounseling
                                                                                                        received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                          agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                   Case 17-27749            Doc 1         Filed 09/15/17 Entered 09/15/17 18:34:12                                  Desc Main
                                                            Document     Page 6 of 14
Debtor 1     Paul Schuiz
Debtor 2     Denise Schuiz                                                                                 Case number (Hknown)

           Answer These Questions for Reporting Purposes

16. What kind of debts do         16a.      Are your debts primarily consumer debts? Consumer c/ebfs are defined in 11 U.S.C.§ 101(8) as "incurred by an
      you have?                             individual primarily for a personal, family, or household purpose."
                                            □ No. Go to line 16b.

                                             H Yes. Go to line 17.
                                  16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or tfirough the operation of the business or investment.
                                            Q No. Go to line 16c.
                                            □ Yes. Go to line 17.
                                  16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          ■ [.gg    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

      Do you estimate that        □ Yes.    I 311 f'liig under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses               □ No
      are paid that funds will
      be available for                      □ Yes
      distribution to unsecured
      creditors?


18.   How many Creditors do       ■ 1-49                                          □ 1,000-5,000                                □ 25.001-50.000
      you estimate that you
                                  □ 50-99                                         □ 5001-10,000                                □ 50.001-100,000
      owe?
                                  □ 100-199                                       □ 10.001-25.000                              □ More thanlOO.OOO
                                  □ 200-999

19. How much do you                                                               □ $1,000,001 -$10 million                    □ $500,000,001 - $1 billion
                                  ■ SO - $50,000
      estimate your assets to
      be worth?                   □ S50.001 -S100.000                             □ 310.000.001 -$50 million                   □ $1,000,000,001 - $10 billion
                                  □ $100,001 - $500,000                           □ $50,000,001 - $100 million                 □ $10,000,000,001 -$50 billion
                                  □ $500,001 -$1 million                          □ $100,000,001 - $500 million                □ More than $50 billion


20.   How much do you                                                             □ $1,000,001 -$10million                     □   $500,000,001 - $1 billion
                                  ■ $0-$50,000
      estimate your liabitities
      to be?                      □ $50,001 -$100,000                             □ $10,000,001 -$50 million                   □    $1,000,000,001 -$10 billion
                                  □ $100,001 -$500,000                            □ $50,000,001 -$100 million                  □    $10,000,000,001 - $50 billion
                                  □ $500,001 -$1 million                          □ $100,000,001 -$500 million                 □    More than $50 billion


           Sign Below

Foryou                            I have examined this petition, and I declare under penalty of perjury that the Information provided is true and correct.

                                  If I have chosen to file under Chapter 7. 1 am aware that I may proceed, if eligible, under Chapter 7, 11,12. or 13 of title 11,
                                  United Slates Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document. I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11. United States Code, specified in this petition.
                                  I understand^aking a fal^ statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptc^ase can re^R in fines up to $250,000. or imprisonm^t for up to 20 years, oc^h. ?8 U.S.C. §£'153,1341,1519
                                  and 357           ~                                                                                     .


                                  PauKSchuIz                                                         )enise Schuiz
                                  Signature of Debtor 1                                             Signature of Debtor?

                                  Executed on     September 13. 2017                                Executed on     September 13. 2017
                                                  MM / DD / YYYY                                                    MM/DD/YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       pages
                Case 17-27749               Doc 1           Filed 09/15/17 Entered 09/15/17 18:34:12                              Desc Main
                                                              Document     Page 7 of 14
Debtor 1   Paul Schulz
Debtor 2   Denise Schulz                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor{s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtorfs) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in^ case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schejdules fitedjidll^he pejUjorus incorrect.
to file this page.
                                                                                                               September 13, 2017
                                    nature of Attorney/for D                                                       I DO IYYYY

                                Justin R. Store
                                Printed name

                                Lakelaw
                                Frrm name


                                420 W. Clayton Street
                                Waukegan, IL 60085
                                Number. Street. City. Slate & ZIP Code

                                Contact phone     8472499100                                 Email address        dlelbowitz(glakelaw.com
                                6293889
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                  Case 17-27749                   Doc 1          Filed 09/15/17 Entered 09/15/17 18:34:12                        Desc Main
                                                                   Document     Page 8 of 14
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
             Paul Schulz
 In re       Denise Schulz                                                                                     Case No.
                                                                                 Debtor(s)                     Chapter      13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                  4,000.00
              Prior to the filing of this statement I have received                                        $                     690.00
              Balance Due                                                                                  $                  3,310.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  As governed by Court-Approved Retention Agreement annexed hereto

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 15, 2017                                                          /s/ Justin R. Storer
     Date                                                                        Justin R. Storer 6293889
                                                                                 Signature of Attorney
                                                                                 Lakelaw
                                                                                 420 W. Clayton Street
                                                                                 Waukegan, IL 60085
                                                                                 8472499100 Fax: 8472499180
                                                                                 dleibowitz@lakelaw.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
Case 17-27749       Doc 1     Filed 09/15/17 Entered 09/15/17 18:34:12              Desc Main
                                Document     Page 9 of 14




                    UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS

             RIGHTS AND RESPONSIBILITIES AGREEMENT BETWEEN
                CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

(Court-Approved Retention Agreement, Use for cases filed on or after September 19,2016)
        Chapter 13 gives debtors important rights, such as the right to keep property that could
otherwise be lost through repossession or foreclosure, but Chapter 13 also puts burdens on
debtors, such as the burden of making complete and truthful disclosures of their financial
situation. It is important for debtors who file a Chapter 13 bankruptcy case to understand their
rights and responsibilities in bankruptcy. In this connection, the advice of an attorney is often
crucial. Debtors are entitled to certain services from their attorneys, but debtors also have
responsibilities to their attorneys. In order to assure that debtors and their attorneys understand
their rights and responsibilities in the Chapter 13 process, the judges ofthe Bankruptcy Court for
the Northern District of Illinois have approved this agreement, setting out the rights and
responsibilities of both debtors in Chapter 13 and their attorneys, including how their attorneys
will be paid for their services in the Chapter 13 case. By signing this agreement, debtors and
their attorneys accept these responsibilities.
       The Bankruptcy Code may require a debtor's attorney to provide the debtor with certain
documents and agreements at the start ofthe representation. The terms of this court-approved
agreement take the place of any conflicting provision in an earlier agreement. This agreement
cannot be modified in any way by other agreements. Any provision of another agreement
between the debtor and the attorney that conflicts with this agreement is void.
     A.      BEFORE THE CASE IS FILED

       THE DEBTOR AGREES TO:

1. Discuss with the attorney the debtor's objectives in filing the case.
2. Provide the attorney with full, accurate and timely information, financial and otherwise,
including properly documented proof of income.
          THE ATTORNEY AGREES TO:

1. Personally counsel the debtor regarding the advisability of filing either a Chapter 13 or a
Chapter 7 case, discuss both procedures (as well as non-bankruptcy options) with the debtor, and
answer the debtor's questions.

2. Personally explain to the debtor that the attorney is being engaged to represent the debtor on
all matters arising in the case, as required by Local Bankruptcy Rule, and explain how and when
the attorney's fees and the trustee's fees are determined and paid.
 Case 17-27749        Doc 1     Filed 09/15/17 Entered 09/15/17 18:34:12                 Desc Main
                                 Document     Page 10 of 14




3. Personally review with the debtor and sign the completed petition, plan, statements, and
schedules, as well as all amendments thereto, whether filed with the petition or later. (The
schedules may be initially prepared with the help of clerical or paralegal staff of the attorney's
office, but personal attention ofthe attorney is required for the review and signing.)
4. Timely prepare and file the debtor's petition, plan, statements, and schedules.
5. Explain to the debtor how, when, and where to make all necessary payments, including both
payments that must be made directly to creditors and payments that must be made to the Chapter
13 trustee, with particular attention to housing and vehicle payments.
6. Advise the debtor of the need to maintain appropriate insurance.

     B.     AFTER THE CASE IS FILED

       THE DEBTOR AGREES TO:

1. Make the required payments to the trustee and to whatever creditors are being paid directly
or, if required payments cannot be made, notify the attorney immediately.
2. Appear punctually at the meeting of creditors (also called the "341 meeting") with recent
proof of income and a picture identification card. (If the identification card does not include the
debtor's social security number, the debtor must also bring to the meeting a social security card.)
The debtor must be present in time for check-in and, when the case is called, for the actual
examination.

3. Notify the attorney of any change in the debtor's address or telephone number.
4. Inform the attorney of any wage garnishments or liens or levies on assets that occur or
continue after the filing of the case.

5. Contact the attorney immediately if the debtor loses employment, has a significant change in
income, or experiences any other significant change in financial situation (such as serious
illness, marriage, divorce or separation, lottery winnings, or an inheritance).
6. Notify the attorney if the debtor is sued or wishes to file a lawsuit(including divorce).
7. Inform the attorney if any tax refunds to which the debtor is entitled are seized or not
received when due from the IRS or Illinois Department of Revenue.
8. Contact the attorney before buying, refinancing, or selling real property and before entering
into any loan agreement.
9. Supply the attorney with copies of all tax returns filed while the case is pending.
Case 17-27749       Doc 1     Filed 09/15/17 Entered 09/15/17 18:34:12               Desc Main
                               Document     Page 11 of 14




        THE ATTORNEY AGREES TO:

1. Advise the debtor of the requirement to attend the meeting of creditors and notify the debtor
of the date, time, and place of the meeting.

2. Inform the debtor that the debtor must be punctual and, in the case of a joint filing, that both
spouses must appear at the same meeting.

3. Provide knowledgeable legal representation for the debtor at the meeting of creditors (in
time for check-in and the actual examination) and, unless excused by the trustee, for the
confirmation hearing.

4. If the attorney will be employing another attorney to attend the 341 meeting or any court
hearing, personally explain to the debtor, in advance, the role and identity of the other attorney
and provide the other attorney with the file in sufficient time to review it and properly represent
the debtor.

5. Timely submit to the Chapter 13 trustee properly documented proof of income for the debtor,
including business reports for self-employed debtors.
6. Timely respond to objections to plan confirmation and, where necessary, prepare, file, and
serve an amended plan.

7. Timely prepare, file, and serve any necessary statements, amended statements, and schedules
and any change of address, in accordance with information provided by the debtor.
8. Monitor all incoming case information (including, but not limited to, Order Confirming Plan,
Notice of Intent to Pay Claims, and 6-month status reports) for accuracy and completeness.
Contact the trustee promptly regarding any discrepancies.

9. Be available to respond to the debtor's questions throughout the term of the plan.

10. Prepare, file, and serve timely modifications to the plan after confirmation, when necessary,
including modifications to suspend, lower, or increase plan payments.

 1 1. Prepare, file, and serve necessary motions to buy or sell property and to incur debt.
 12. Object to improper or invalid claims.

13. Timely respond to the Chapter 13 trustee's motions to dismiss the case, such as for payment
default or unfeasibility, and to motions to increase the percentage payment to unsecured
creditors.

14. Timely respond to motions for relief from stay.
15. Prepare, file, and serve all appropriate motions to avoid liens.
 16. Prepare, file, and serve a notice of conversion to Chapter 7, pursuant to § 1307(a)of the
Bankruptcy Code and Local Bankruptcy Rule 1017-1.
17. Provide any other legal services necessary for the administration of the case.
 Case 17-27749           Doc 1   Filed 09/15/17 Entered 09/15/17 18:34:12                Desc Main
                                  Document     Page 12 of 14




     C        TERMINA TION OR CONVERSION OF THE CASE AFTER ENTR Y OFAN
              ORDER APPROVING FEES AND EXPENSES

1. Approved fees and expenses paid under the provisions set out below are generally not
refundable in the event that the case is dismissed prior to its completion, unless the dismissal is
due to a failure by the attorney to comply with the duties set out in this agreement. If such a
dismissal is due to a failure by the attorney, the court may order a refund of fees on motion by
the debtor.

2. If the case is dismissed after approval of the fees and expenses but before payment of all
allowed fees and expenses, the order entered by the Bankruptcy Court allowing the fees and
expenses is not a judgment against the debtor for the unpaid fees and expenses based on contract
law or otherwise.

3. If the case is converted to a case under Chapter 7 after approval of the fees and expenses
under this agreement but before the payment of all fees and expenses, the attorney will be
entitled to an administrative claim in the Chapter 7 case for any unpaid fees and expenses,
pursuant to § 726(b) of the Bankruptcy Code, plus any conversion fee the attorney pays on
behalf of the debtor.


     Z>.      RETAINERS AND PREVIOUS PA YMENTS

1. The attorney may receive a retainer or other payment before filing the case but may not
receive fees directly from the debtor after the filing of the case. Unless the following provision
is checked and completed, any retainer received by the attorney will be treated as a security
retainer, to be placed in the attorney's client trust account until approval of a fee application by
the court.

 □ The attorney seeks to have the retainer received by the attorney treated as an advance
   payment retainer, which allows the attorney to take the retainer into income immediately.
   The attorney hereby provides the following further information and representations:

      (a)     The special purpose for the advance payment retainer and why it is advantageous
              to the debtor is as follows:




      (b)     The retainer will not be held in a client trust account and will become property of
              the attorney upon payment and will be deposited into the attorney's general
              account;

      (c)     The retainer is a flat fee for the services to be rendered during the Chapter 13 case
              and will be applied for such services without the need for the attorney to keep
              detailed hourly time records for the specific services performed for the debtor;
Case 17-27749       Doc 1     Filed 09/15/17 Entered 09/15/17 18:34:12              Desc Main
                               Document     Page 13 of 14




     (d)      Any portion of the retainer that is not earned or required for expenses will be
             refunded to the client; and

     (e)     The attorney is unwilling to represent the debtor without receiving an advanced
             payment retainer because of the nature of the Chapter 13 case, the fact that the
             great majority of services for such case are performed prior to its filing, and the
             risks associated with the representation of debtors in bankruptcy cases in general.

2. In any application for compensation, the attorney must disclose to the court any fees or other
compensation paid by the debtor to the attorney for any reason within the one year before the
case filing, including the date(s) any such fees were paid.

     E.     CONDUCT AND DISCHARGE

1. Improper conduct by the attorney. If the debtor disputes the sufficiency or quality of the legal
services provided or the amount of the fees charged by the attorney, the debtor may file an
objection with the court and request a hearing.
2. Improper conduct by the debtor. If the attorney believes that the debtor is not complying with
the debtor's responsibilities under this agreement or is otherwise engaging in improper conduct,
the attorney may apply for a court order allowing the attorney to withdraw from the case.
3. Discharge ofthe attorney. The debtor may discharge the attorney at any time.




                               [Remaining page intentionally left blank.]
 Case 17-27749        Doc 1      Filed 09/15/17 Entered 09/15/17 18:34:12                 Desc Main
                                  Document     Page 14 of 14




     F.      ALLOWANCE AND PAYMENT OF ATTORNEYS'FEES AND EXPENSES

1. Any attorney retained to represent a debtor in a Chapter 13 case Is responsible for
representing the debtor on all matters arising in the case unless otherwise ordered by the court.
For ail of the services outlined above, the attorney will be paid a flat fee of $
2. In addition, the debtor will pay the filing fee in the case and other expenses of


                                                                       oi>
3. Before signing this agreement, the attorney received $

    toward the flat fee, leaving a balance due of$ 3 1> i         and $                for expenses,
    leaving a balance due of $ ^
 4. In extraordinary circumstances, such as extended evidentiary hearings or appeals, the
attorney may apply to the court for additional compensation for these services. Any such
application must be accompanied by an itemization of the services rendered, showing the date,
the time expended, and the identity of the attorney performing the services. The debtor must be
served with a copy of the application and notified of the right to appear in court to object.


 Date: ^            Zoi'J

Signed:




 )ebtor(s)                                         A^orney foi/^e Debtor(s)
Do not sign this agreenfen/if the amounts are blanV.




                                                                                    Local Bankruptcy Form 23c
